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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF KENTUCKY
                       CENTRAL DIVISION at LEXINGTON



UNITED STATES OF AMERICA,            )
                                     )
        Plaintiff,                   )
                                     )              Criminal Case No.
v.                                   )                 12-cr-65-JMH
                                     )
NICHOLAS COREY GARNER,               )        MEMORANDUM OPINION AND ORDER
                                     )
        Defendant.                   )



                                      ***


        This matter is before the Court upon Defendant Nicholas

Corey    Garner’s    Motion   for   Determination       of   Mental   Condition

under 18 U.S.C. § 4244 [DE 381] as well as the Court’s own

motion.     Both motions are made pursuant to § 4244 as Defendant

was     adjudged     guilty   at    the       hearing   on   his   Motion     for

Rearraignment on December 4, 2014 [DE 333].                   He has failed,

however, to timely seek a motion for hearing on his present

mental condition in light of the ten day limitation for the

filing of such a motion from the finding of guilt imposed by §

4244(a).     Nonetheless, this Court may order such a hearing on

its own motion at any time prior to the sentencing under the

same subsection and, for the reasons stated in this Memorandum

Opinion and Order, concludes that it is appropriate to do so.


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     The    Court    concludes    that    there   is   “reasonable    cause    to

believe that the defendant may presently be suffering from a

mental disease or defect for the treatment of which he is in

need of custody for care or treatment in a suitable facility.”

18 U.S.C. § 4244(a).        In this regard, the Court has considered

the Federal Bureau of Prison’s Forensic Report [DE 223] filed in

this matter with respect to this defendant in the period prior

to his guilty plea; counsel’s description of Defendant’s reasons

for the untimely request, namely his concerns about his mental

condition     in    light   of   trauma      sustained   in    an    automobile

accident; and the undersigned’s own familiarity with the file in

this matter and interactions with Defendant in the courtrooom.

     Accordingly, IT IS ORDERED:

     (1)     that Defendant’s      Motion for Determination of Mental

Condition under 18 U.S.C. § 4244 [DE 381] is DENIED as untimely;

     (2)     that, upon the Court’s own Motion and pursuant to 18

U.S.C. § 4244, the Defendant is committed to the custody of the

Attorney General for a period not to exceed 45 days so that a

psychiatric or psychological examination of the defendant may be

conducted;

     (3)     that a psychiatric or psychological report shall be

prepared and filed with the Court pursuant to the provisions of

42 U.S.C. § 4247 (b) and (c) to assist the Court in determining

if Defendant is presently suffering from a mental disease or

                                         2
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defect and should, in lieu of a sentence to imprisonment, be

committed to a suitable facility for care or treatment;

     (4)   that,   if   the   report     includes   an     opinion    by    the

examiner or examiners that Defendant is presently suffering from

a mental disease or defect but that it is not such as to require

his custody for care or treatment in a suitable facility, the

report shall also include an opinion by the examiner concerning

the sentencing alternatives that could best accord the defendant

the kind of treatment he does need.

     This the 19th day of February, 2014.




                                     3
